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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW HAMPSHIRE

Richard Daschbach                                       )
                                        Plaintiff,      )
vs.                                                     )       Case No. 1:18-cv-00786-PB
                                                        )
Wyatt Investment Research, LLC                          )
                                        Defendants.     )

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

NOW COMES THE PLAINTIFF, by and through counsel, and pursuant to Fed. R. Civ. P

41(a)(1)(A)(i), dismiss this action, in its entirety with Prejudice, and hereby provide Notice of

Voluntary Dismissal.

         1.       "Subject to Rules 23(e), 23.1(c), 23.2, and 66 and any applicable federal statute,

the plaintiff may dismiss an action without a court order by filing: (i) a notice of dismissal before

the opposing party serves either an answer or a motion for summary judgment;" Fed. R. Civ. P

41(a)(1)(A)(i).

         2.       Neither an Answer nor a Motion for Summary Judgment has been filed.

WHEREFORE, Plaintiff is entitled to, and hereby Voluntarily Dismisses, this action pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(i), in its entirety and with Prejudice.

      Dated: October 23, 2018
                                                             Respectfully submitted,
                                                             Counsel for the Plaintiff,
                                                             and the proposed Class,

                                                             /s/ John F. Skinner, III
                                                             ATTY. JOHN F. SKINNER, III
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                                     CERTIFICATE OF SERVICE

I hereby certify that on this day, I electronically served on all registered users a true and correct
copy of the foregoing document via the Court’s Notice of Electronic Filing in accordance with
the Electronic Case Filing Administrative Procedures. A paper copy will be served on all non-
registered users of ECF, if any.

                                                      /s/ John F. Skinner, III
                                                      John F. Skinner, III




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